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   COOPER & KIRK, PLLC                       TODD & WELD LLP                AIDALA, BERTUNA & KAMINS, PC
1523 New Hampshire Ave, N.W.                  One Federal Street                   546 Fifth Avenue
    Washington, DC 20036                          27th Floor                           6th Floor
       (202) 220-9600                         Boston, MA 02110                   New York, NY 10036
                                               (617) 720-2626                       (212) 486-0011

                                              January 15, 2021

   VIA ECF
   The Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

           Re:     Giuffre v. Dershowitz, Case No 19-cv-3377-LAP
                   Joint Status Report

   Dear Judge Preska:

           In accordance with the Court’s order at the November 24, 2020, status conference, the
   parties submit the following joint report concerning the status of party depositions.

          The parties have not yet agreed upon dates for depositions of Plaintiff or Defendant. Two
   obstacles to scheduling these depositions remain.

          First, the coronavirus pandemic continues to inhibit travel and makes in-person depositions
   inadvisable at this time.

           Australia currently places travel restrictions on traveling outside Australia. See Outward
   Travel Restrictions Operation Directive, Australian Government Department of Home Affairs &
   Australian Border Force, https://bit.ly/2XyGChX. While it is possible to apply for an exemption
   to this outbound travel restriction that would enable Plaintiff to leave Australia, obtaining an
   exemption is not guaranteed. Further, because there are currently strict border measures in place
   in Australia with very limited flights currently available according to Australia’s Department of
   Home Affairs, see COVID-19 and the border: Travel restrictions and exemptions, AUSTRALIAN
   GOVERNMENT DEPARTMENT OF HOME AFFAIRS (updated Dec. 14, 2020), https://bit.ly/35ENL4u,
   leaving Australia at this time presents a significant risk that, even if Plaintiff were to obtain a travel
   exemption and were able to book an outbound flight from Australia, she would be unable timely
   to return to the location where her husband and minor children reside and where she is receiving
   ongoing medical treatment. At a minimum, any travel to the United States from Australia would
   require Plaintiff to be apart from her family for at least a month, as the CDC recommends a 14-
   day quarantine for international travelers arriving in the United States international travelers, some
   states mandate such a quarantine, and Plaintiff, upon returning to Australia, would likely be subject
   to a mandatory fourteen-day hotel quarantine, in which her family could not join her. See COVID-
   19 coronavirus: Travel to WA, WA.GOV.AU (updated Jan. 8, 2021, 11:57 AM),
   https://bit.ly/3bwPKM9 (accessed Jan. 8, 2021). Those are the current regulations, but the dynamic
   nature of the pandemic could alter the travel restrictions at any time, creating a concrete risk that
   Plaintiff would be separated from her minor children for an even longer period. There is, however,
   hope that the landscape will change in the coming months, as Australia is expected to begin mass
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vaccinations next month. Covid-19: Australia to begin mass vaccinations in February, BBC NEWS
(Jan. 7, 2021), https://bbc.in/3slaCMm.

        In addition to the travel restrictions specifically impacting Plaintiff’s ability to travel to the
United States for her deposition, the parties and their counsel share more general concerns relating
to the risks of domestic travel and convening in person for depositions under conditions which
would necessarily pose a substantial risk for transmission of the coronavirus even with precautions
in place.

        The parties agree that many of the numerous non-party depositions which will occur in the
case can be conducted remotely, via videoconference. However, the parties continue to believe
that the depositions of Plaintiff and Defendant must be conducted in person if at all possible. Given
the number of non-party depositions which need to occur and the volume of other discovery that
remains to be completed, the parties agree that scheduling of Plaintiff’s and Defendant’s
depositions can be deferred at this time without impacting or delaying the overall resolution of the
case.

        Second, party document production remains incomplete.

       On Plaintiff’s side, the two largest categories of outstanding documents are medical records
and text/social media messages. Although Plaintiff made a substantial production of medical
records as part of a production of confidential documents in late December, she is continuing to
gather additional records. Plaintiff is also working on retrieving messages from a secure
application on her phone called Signal that requires physical access to the phone and specialized
technical knowledge. As the parties have reached an agreement in principle for a protocol
governing the production of text and social media direct messages, Plaintiff will produce these
messages shortly.

       Defendant anticipates substantially completing production of his remaining documents,
including documents from his Gmail account, text messages, and non-email documents, by
January 29, 2021. Additional time will likely be necessary to complete production of Defendant’s
medical records, as well as email and other documents in the possession of Defendant’s wife and
administrative assistants which will be reviewed and produced pursuant to a protocol recently
proposed by Plaintiff and which the parties are in the process of negotiating.

        Finally, the parties continue to negotiate with Harvard concerning a protocol for the review
and production of emails from Defendant’s Harvard account, and that process is taking longer than
anticipated.

                                                  ***

       The parties propose to submit a further joint status report on February 19, 2021.
Importantly, in the meantime, the parties intend to proceed with the scheduling of numerous non-
party depositions which can reasonably be conducted remotely via videoconference. The parties
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will also make use of this time to work on completing their respective document productions as
well as non-party document productions.

                                                Respectfully,


    COOPER & KIRK, PLLC                         TODD & WELD, LLP

    /s/ Nicole Jo Moss                          /s/ Christian G. Kiely
    Charles J. Cooper*                          Howard M. Cooper*
    Michael W. Kirk                             Christian G. Kiely*
    Nicole J. Moss*                             Kristine C. Oren*
    Haley N. Proctor*                           *Admitted Pro Hac Vice
    *Admitted Pro Hac Vice                      One Federal Street, 27th Floor
    1523 New Hampshire Avenue, NW               Boston, MA 02110
    Washington, DC 20036                        (617) 720-2626
    (202) 220-9600                              hcooper@toddweld.com
    ccooper@cooperkirk.com                      ckiely@toddweld.com
    mkirk@cooperkirk.com                        koren@toddweld.com
    nmoss@cooperkirk.com
                                                AIDALA, BERTUNA & KAMINS, P.C.

                                                /s/ Arthur L. Aidala
                                                Arthur L. Aidala (S.D.N.Y. Bar No. ALA-0059)
                                                Imran H. Ansari (S.D.N.Y. Bar No. IHA-1978)
                                                546 Fifth Avenue, 6th Floor
                                                New York, New York 10036
                                                (212) 486-0011
                                                iansari@aidalalaw.com
                                                aidalaesq@aidalalaw.com
